Case 2:09-cv-06244-WJM-MF Document1-1 Filed 12/09/09 Page 1 of 3 PagelD: 23

JS 44 (Rev. 12/07, NJ 5/08) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United Bfates in September 1974, is required for the use of ihe Clerk of Court for the purpose of initiating
the civil docket sheet. (SBE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Emergency Physicians of St. Clares, LLC et al. Pro Assurance Corporation
(b) County of Residence of First Listed Plaintiff _Morris County of Residence of First Listed Defendant Jefferson

ce) 6 Attorney's (Firm Name, Address, Telephone Namb id Email
(e) ey's ( ' » Telephone Number and Email Address) NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE

See Attachment LAND INVOLVED.

Attommeys (If Known)

IL BASIS OF JURISDICTION (Place an “X” in One Box Only) ll. CITIZENSHIP OF PRINCIPAL PARTIES Place an “X” in One Box for Plaintiff
(For Diversicy Cases Only} and One Box for Defendant)
G1 U8. Government QO 3 Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State ol 0 1 Incorporated ar Principal Place Ba ama
of Business In This State
O2 U.S. Government W4 Diversity Citizen of Another State O 2 1 2 Incorporated ave Principal Place os @s
Defendant (ndicate Citizenship of Parties in Item INT) of Business In Another State
Citizen or Subject of'a 3  O 3. Foreign Nation a6 6
Foreign Country

Place an “*X” in One Box Onl

IV, NATURE OF SUIT

& 110 insurance PERSONAL INJURY PERSONAL INJURY {(9 610 Agriculture 07 422 Appeal 28 USC 158 1 400 State Reapportionment
OF 120 Marine O 310 Airplane [F362 Personal Injury - (7 620 Other Food & Drug 1 423 Withdrawal O 410 Antitrust
130 Miller Act G 315 Airplane Product Med. Malpractice | 7) 625 Drug Related Seizure 28 USC 157 O 430 Banks and Banking,
7 140 Negotiable Instrument Liability 365 Personal Injury « of Property 71 USC 881 O 450 Commerce
O) 150 Recovery of Overpayment [01 320 Assault, Libel & Product Liability 0 630 Liquor Laws PRO E 40) 460 Deportation
& Enforcement of Judgment Slander (1 368 Asbestos Personal =| 77 640 RR. & Trick 820 Copyrights OF 470 Racketeer Influenced and
0 131 Medicare Act 0 330 Federal Employers’ Injury Preduct O 650 Airline Regs. O) 830 Patent Corrupt Organizations
OF 152 Recovery of Defaulted Liability Liability O 660 Occupational O 840 Trademark O 480 Consumer Credit
Student Loans © 340 Marine PERSONAL PROPERTY Safety/Health 490 Cable/Sat TV
(Excl. Veterans) 7 345 Marine Product O 370 Other Fraud 1 690 Other 1 810 Selective Service
1 153 Recovery of Overpayment Liability O 371 Truth in Lending Fe 1 850 Securities‘Commodities!
of Vetcran’s Benefits O 350 Motor Vehicle O 380 Other Personal 9 710 Fair Labor Standards O 861 AIA (13957) Exchange
6 160 Stackholders” Suits OF 355 Motor Vehicle Property Damage Act 1 862 Black Lung (923) C1 875 Customer Challenge
@ 190 Other Contract Product Liability 1 385 Property Damage 1 720 Labor/Mgmt, Relations 0 863 DEWC/TH WW (405(2)) 12 USC 3414
17 195 Contact Product Liability |G 360 Other Personal Product Liability 730 Labor/Mgmt.Reporting 0 864 SSID Title XVI 1 390 Other Statutory Actions
7 196 Franchi Inju: & Disclosure Act O 865 RSI (405(2) OG 891 Agricultural Acts
ey 40) 740 Railway Labor Act SU QO 892 Economic Stabilization Act
CO 210 Land Condemnation O 441 Voting I) 510 Motions to Vacate =) 790 Other Labor Litigation O 870 Taxes (U.S, Plamtitt O $93 Environmental Matters
CF} 220 Foreclosure (1 442 Employment Sentence 1 791 Empl. Ret. ine. or Defendant) 894 Energy Allocation Act
(1 234 Rent Lease & Ejectment | 443 Housing/ Habeas Corpus: Security Act O 871 IRS—Third Party 1 895 Freedom of Information
0 240 Torts to Land Accommodations 1 530 General 26 USC 7409 Act
C1 245 Tort Product Liability O 444 Welfare J) 335 Death Penalty f 1 S00Appeal of Fee Determination
CG 290 All Other Real Property [4 445 Amer. w/Disabilities- |) 540 Mandamus & Other Under Equal Access
Employment 550 Civil Rights 71 463 Habeas Corpus - to Justice
O 446 Amer. w/Disabilities - [0 555 Prison Condition Alien Detainee 950 Constitutionality of
Other O 464 Other Immigration State Statutes
O 440 Other Civil Rights Actions
¥. ORIGIN (Place an “X” in One Box Only) f Ap al to District
St] Origins) © 2 Removedfrom [1 3 Remandedfrom ©) 4 Reinstatedor C] 5 Jransferved fom ry 6 Multidistrict 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
Cit peu. Civil Stgtute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Vi. CAUSE OF ACTION Brief description of cause: . = i
Violation of NJ Consumer Fraud Act, breach of contract; accounting => cs
VII. REQUESTED IN Wf CHECK IF THIS IS A CLASS-ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 3S FE fon pt} AYT JURY DEMAND: My No
nan
VIII. RELATED CASE(S) Sec 1 =3
(Sec instmmetions): TDGE DOCKET NUMBER 2 =
. wed
Expl :
xplanation. Y r
tw co
A p—
DATE SIGNATURE OF ATTORNEY OF RECORD Oo wy
—_ wert

fos e4 dete

Case 2:09-cv-06244-WJM-MF Documenti1-1 Filed 12/09/09 Page 2 of 3 PagelD: 24

Eric 8S. Poe, Esq.

214 Carnegie Center Blvd., Suite 301
Princeton, NJ 08540

Telephone: (609) 520-0800 ext. 7610
Fax: (866) 298-6341

Email: eric.poe@attorney-cpa.com
Attorney for Plaintiffs

Of Counsel:

Mehri & Skalet, PLLC

Steven A. Skalet, Esq.

Jay Angoff, Esq.

1250 Connecticut Avenue, NW, Suite 300
Washington, D.C. 20036

Telephone: (202) 822-5100

Fax: (202) 822-4997

Email: sskalet@findjustice.com

janeoffa@findjustice.com

Gary D. McCallister & Associates, LLC
Gary D. McCallister, Esq.

Jamie Goldstein, Esq.

120 North LaSalle Street

Chicago, IL 60602

Telephone: (312) 345-0611

Fax: (312) 345-0612

Email: gdm@gdmlawfirm.com

jgoldstein@edmlawfirm.com

Case 2:09-cv-06244-WJM-MF Document1-1 Filed 12/09/09 Page 3 of 3 PagelD: 25

Eric 8. Poe, Esq.

214 Carnegie Center Blvd., Suite 301
Princeton, NJ 08540

Telephone: (609) 520-0800 ext. 7610
Fax: (866) 298-6341

Email: eric.poe@attorney-cpa.com
Attorney for Plaintiffs

Of Counsel:

Mehri & Skalet, PLLC

Steven A. Skalet, Esq.

Jay Angoff, Esq.

1250 Connecticut Avenue, NW, Suite 300

Washington, D.C. 20036

Telephone: (202) 822-5100

Fax: (202) 822-4997

Email: sskalet@findjustice.com
jangoft@tindjustice.com

Gary D. McCallister & Associates, LLC

Gary D. McCallister, Esq.

Jamie Goldstein, Esq.

120 North LaSalle Street

Chicago, IL 60602

Telephone: (312) 345-0611

Fax: (312) 345-0612

Email: edin@edmlawfirm.com
jgoldstein@gdmlawfirm.com

